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 7
                               UNITED STATES DISTRICT COURT
 8
                              WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 9

10
        STATE OF WASHINGTON et al.,                        CASE NO. 2:25-cv-00244-LK
11
                              Plaintiffs,                  ORDER DENYING PLAINTIFFS’
12             v.                                          MOTION FOR CONTEMPT AND
                                                           ATTORNEY’S FEES AND
13      DONALD J. TRUMP et al.,                            GRANTING PLAINTIFFS’
                                                           MOTION FOR EXPEDITED
14                                                         DISCOVERY
                              Defendants.
15

16
            Beginning February 14, 2025, this Court’s orders enjoined all Defendants except President
17
     Trump from enforcing or implementing a section of an executive order that directed agencies to
18
     “immediately take appropriate steps to ensure that institutions receiving Federal research or
19
     education grants end” four kinds of medical treatments within Washington, Oregon, or Minnesota.
20
     Beginning on the evening of February 28, 2025, this Court’s preliminary injunction additionally
21
     prevented these Defendants from enforcing or implementing two sections of a second executive
22
     order within Washington, Oregon, Minnesota, or Colorado “to condition or withhold federal
23

24

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 1   funding based on the fact that a health care entity or health professional provides gender-affirming

 2   care.”

 3              On February 28, 2025, the National Institutes of Health (“NIH”) terminated a grant that

 4   had been awarded to Seattle Children’s Hospital for a research study developing an online “health

 5   education/skills delivery tool” for transgender youth. Dkt. No. 244-1 at 2; Dkt. No. 244 at 2. On

 6   March 4, 2025, NIH sent an updated Notice of Award to Seattle Children’s Hospital confirming

 7   the grant’s termination and explaining that “[t]his award related to Transgender issues no longer

 8   effectuates agency priorities.” Dkt. No. 244-2 at 2, 6.

 9              On March 6, 2025, Plaintiffs filed a motion asking the Court to hold Defendants in

10   contempt of the Court’s orders or, alternatively, to permit Plaintiffs to engage in expedited

11   discovery. Dkt. No. 243. 1 Because Plaintiffs do not establish by clear and convincing evidence

12   that the grant termination violates the Court’s orders, the Court denies Plaintiffs’ motion for

13   contempt. However, Plaintiffs do establish good cause for expedited discovery, so the Court grants

14   their alternative request.

15                                               I.        BACKGROUND

16              On February 14, 2025, this Court issued a temporary restraining order (“TRO”) prohibiting,

17   in relevant part, all Defendants other than President Trump “from enforcing or implementing

18   Section 4 of Executive Order 14,187 within the Plaintiff States.” Dkt. No. 158 at 1. The text of

19   Section 4 of Executive Order 14,187 (the “Medical Services EO”) reads as follows:

20              The head of each executive department or agency (agency) that provides research
                or education grants to medical institutions, including medical schools and hospitals,
21              shall, consistent with applicable law and in coordination with the Director of the
                Office of Management and Budget, immediately take appropriate steps to ensure
22              that institutions receiving Federal research or education grants end the chemical
                and surgical mutilation of children.
23

24   1
         The Court previously denied Plaintiffs’ request to have their motion heard on shortened time. Dkt. No. 248.


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 1   Dkt. No. 17-1 at 3. “Chemical and surgical mutilation” is defined in Section 2(c) of the Medical

 2   Services EO to include four kinds of medical treatments (the “Listed Services”):

 3      •   “[T]he use of puberty blockers, including GnRH agonists and other interventions, to delay
            the onset or progression of normally timed puberty in an individual who does not identify
 4          as his or her sex,” id. at 2;

 5      •   “[T]he use of sex hormones, such as androgen blockers, estrogen, progesterone, or
            testosterone, to align an individual’s physical appearance with an identity that differs from
 6          his or her sex,” id.;

 7      •   “[S]urgical procedures that attempt to transform an individual’s physical appearance to
            align with an identity that differs from his or her sex,” id.; and
 8
        •   “[S]urgical procedures . . . that attempt to alter or remove an individual’s sexual organs to
 9          minimize or destroy their natural biological functions,” id.

10          On February 28, while this Court’s TRO was in place, Dkt. No. 158 at 2, the National

11   Institutes of Health (“NIH”)—an agency within the Department of Health and Human Services

12   (“HHS”)—terminated “without warning” Grant No. 5R21HD107311 (the “Grant”), which had

13   been awarded to Seattle Children’s Hospital for a project period commencing September 5, 2022

14   and ending on August 31, 2025, Dkt. No. 244 at 3. The Grant supported a research study titled

15   “An intervention to promote healthy relationships among transgender and gender expansive

16   youth,” which was “designed to improve the delivery of healthcare, through health education and

17   skills training for transgender youth.” Id. at 2. The research study is designed to develop a “health

18   education/skills delivery tool” to “better enable transgender and gender-expansive youth to set

19   healthy boundaries in relationships, thus mitigating their risks of violence, mental health disorders,

20   and sexually transmitted infections.” Id. at 2–3. This tool is being developed in coordination with

21   “a national advisory board of transgender youth[.]” Id. at 2. The Grant’s principal investigator

22   “plan[s] to conduct a randomized study with 40 youth, 30 of whom will be given the intervention

23   we are developing and 10 of whom will initially be given a control (but will then be provided with

24   the intervention after the trial ends).” Id. at 3. As research and development have progressed,

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 1   “Seattle Children’s has drawn down expenses on a reoccurring [sic] basis from the federal Payment

 2   Management System portal operated by the U.S. Department of Health & Human Services” and,

 3   “[a]s of February 28, 2025, the project was in good standing and there was a balance of $78,300.91

 4   on the grant.” Id.

 5          In its February 28 letter terminating the program, NIH explained that “[t]his award no

 6   longer effectuates agency priorities.” Dkt. No. 244-1 at 2 (citing 2 C.F.R. § 200.340(a)(2)). It added

 7   that “[r]esearch programs based on gender identity are often unscientific, have little identifiable

 8   return on investment, and do nothing to enhance the health of many Americans. Many such studies

 9   ignore, rather than seriously examine, biological realities. It is the policy of NIH not to prioritize

10   these research programs.” Id.

11          On the evening of February 28, this Court issued a preliminary injunction that enjoined all

12   Defendants except President Trump from, in relevant part, “enforcing or implementing Section 4

13   of Executive Order 14,187 [(the Medical Services EO)] within the Plaintiff States,” and “from

14   enforcing Sections 3(e) or 3(g) of Executive Order 14,168 to condition or withhold federal funding

15   based on the fact that a health care entity or health professional provides gender-affirming care

16   within the Plaintiff States.” Dkt. No. 233 at 53. Sections 3(e) and (g) of Executive Order 14,168

17   (the “Gender Ideology EO”) read in relevant part as follows:

18          •   Section 3(e): “Agencies shall take all necessary steps, as permitted by law, to end the
                Federal funding of gender ideology.” Dkt. No. 17-2 at 2.
19
            •   Section 3(g): “Federal funds shall not be used to promote gender ideology. Each agency
20              shall assess grant conditions and grantee preferences and ensure grant funds do not
                promote gender ideology.” Id.
21
     “Gender ideology” is defined within the Gender Ideology EO as
22
            replac[ing] the biological category of sex with an ever-shifting concept of self-
23          assessed gender identity, permitting the false claim that males can identify as and
            thus become women and vice versa, and requiring all institutions of society to
24          regard this false claim as true. Gender ideology includes the idea that there is a vast

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 1           spectrum of genders that are disconnected from one’s sex. Gender ideology is
             internally inconsistent, in that it diminishes sex as an identifiable or useful category
 2           but nevertheless maintains that it is possible for a person to be born in the wrong
             sexed body.
 3
     Id. at 2.
 4
             On March 4, 2025, NIH sent an updated Notice of Award to Seattle Children’s Hospital.
 5
     Dkt. No. 244-2 at 2. The March 4 notice confirmed the Grant’s termination and stated that NIH
 6
     “hereby revises this award to reflect a decrease in the amount of $200,453[.]” Id. at 2–3. NIH noted
 7
     that “[f]unds in the amount of [$40,091] may be used to support patient safety and orderly closeout
 8
     of the project. Funds used to support any other research activities will be disallowed and
 9
     recovered.” Id. at 7.
10
             Plaintiffs filed a motion for contempt on March 6, urging the Court to hold that the Grant
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     termination violated the TRO and preliminary injunction. Dkt. No. 243. Alternatively, Plaintiffs
12
     ask the Court to “issue an order to show cause and permit Plaintiffs expedited discovery to test
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     Defendants’ assertions concerning the grant termination.” Id. at 12.
14
                                             II. DISCUSSION
15
             “The ability to punish disobedience to judicial orders is regarded as essential to ensuring
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     that the Judiciary has a means to vindicate its own authority without complete dependence on other
17
     Branches.” Young v. U.S. ex rel. Vuitton et Fils S.A., 481 U.S. 787, 796 (1987). Thus, “courts have
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     inherent power to enforce compliance with their lawful orders through civil contempt.” Shillitani
19
     v. United States, 384 U.S. 364, 370 (1966).
20
             The Court first addresses Defendants’ unreasonable interpretation of the Court’s orders. It
21
     then explains why Plaintiffs have not met their burden to establish contempt. And finally, it
22
     addresses Plaintiffs’ alternative request for expedited discovery.
23

24

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 1   A.     Defendants’ Interpretation of the Court’s Orders is Unreasonable

 2          Defendants argue that the Court “enjoined enforcement of Sections 3(e) or 3(g) of the

 3   [Gender Ideology] EO only as to ‘gender-affirming care’ as that term is used in the [Medical

 4   Services] EO”—i.e., only as to the four Listed Services. Dkt. No. 253 at 10–11. This interpretation

 5   borders on violating Federal Rule of Civil Procedure 11(b). Fed. R. Civ. P. 11(b) (by submitting a

 6   brief to the court, an attorney certifies that “to the best of the person’s knowledge, information,

 7   and belief, formed after an inquiry reasonable under the circumstances: (1) it is not being presented

 8   for any improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the

 9   cost of litigation; (2) the claims, defenses, and other legal contentions are warranted by existing

10   law . . . ; (3) the factual contentions have evidentiary support . . . ; and (4) the denials of factual

11   contentions are warranted on the evidence[.]”).

12          The preliminary injunction order makes clear that “gender-affirming care” is far broader

13   than the Listed Services. The Court expressly stated that the prohibitions in Sections 3(e) and (g)

14   of the Gender Ideology EO “are broader than Section 4 of the Medical Services EO” such that, for

15   example, Minnesota’s failure to establish that its medical institutions receive research or education

16   grants or provide the Listed Services was “inconsequential with respect to the injunctive relief to

17   which it is entitled.” Dkt. No. 233 at 8 n.5. In comparison to Section 4 of the Medical Services EO,

18   which conditions grant funding on whether grant recipients offer the Listed Services, Sections 3(e)

19   and (g) of the Gender Ideology EO more broadly “condition[] grant funding based on whether

20   grant recipients offer—among other things—gender-affirming services for individuals with gender

21   dysphoria.” Id. at 30 (emphasis omitted). Thus, while the Medical Services EO forced institutions

22   to choose between “halt[ing] the Listed Services” or losing federal grant money, Dkt. No. 161 at

23   9, the Gender Ideology EO forced institutions to choose between “halt[ing] any treatment or

24   funding for gender dysphoria” or losing federal grant money, Dkt. No. 233 at 12. A plaintiff’s

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 1   provision of the Listed Services was therefore sufficient to establish its standing to challenge

 2   Sections 3(e) and (g) of the Gender Ideology EO, but it was not necessary. Dkt. No. 233 at 8 n.5.

 3            The Court went on to detail the various forms of gender-affirming care that an individual

 4   with gender dysphoria might receive. Id. at 27–28 (listing therapy; assistance with elements of a

 5   social transition (e.g., new name and pronouns, modification of attire); evaluation of persistency

 6   of gender dysphoria, emotional and cognitive maturity, and coexisting psychological, medical, or

 7   social problems; puberty-suppressing medications; hormone therapy; and surgery); see also id. at

 8   51 & n.27 (noting that “a multidisciplinary approach is frequently necessary” to provide complete

 9   care to transgender patients, and citing to evidence that this approach may include, among other

10   things, voice training, mental health care, hormone therapy, and surgery); id. at 9 n.7 (“Oregon

11   State University provides gender-affirming care to students through its Student Health Services,

12   including hormone therapy, mental health support, and surgical referrals.”). 2 Despite Defendants’

13   contrived arguments to the contrary, Dkt. No. 253 at 10–12, it is clear from the Court’s preliminary

14   injunction order that “gender-affirming care” includes all of these things. Indeed, if the Court

15   meant to equate “gender-affirming care” with the Listed Services, as Defendants wrongly contend,

16
     2
       The care listed in the Court’s order conforms with similar definitions provided by governmental and medical entities.
17   For example, as of February 27, 2025, the HHS Office of Population Affairs defined the term as “an array of services
     that may include medical, surgical, mental health, and non-medical services for transgender and nonbinary people.”
     HHS       Office       of     Population      Affairs,    Gender-Affirming        Care      and      Young      People,
18   https://web.archive.org/web/20250227041634/https://opa.hhs.gov/sites/default/files/2025-02/gender-affirming-care-
     young-people.pdf (“For transgender and nonbinary children and adolescents, early gender-affirming care is crucial to
19   overall health and well-being as it allows the child or adolescent to focus on social transitions and can increase their
     confidence while navigating the healthcare system.”). According to the World Professional Association of
20   Transgender Health (“WPATH”), gender affirming care involves “holistic inter- and multidisciplinary care between
     endocrinology, surgery, voice and communication, primary care, reproductive health, sexual health and mental health
     disciplines to support gender-affirming interventions as well as preventive care and chronic disease management.”
21   See WPATH, Standards of Care for the Health of Transgender and Gender Diverse People, Version 8, 23 Int’l J. of
     Transgender                Health            51,             57              (2022),            available             at
22   https://www.tandfonline.com/doi/pdf/10.1080/26895269.2022.2100644. Similarly, the World Health Organization
     defines the term as including “any single or combination of a number of social, psychological, behavioural or medical
     (including hormonal treatment or surgery) interventions designed to support and affirm an individual’s gender
23   identity.” World Health Organization, Gender incongruence and transgender health in the ICD,
     https://www.who.int/standards/classifications/frequently-asked-questions/gender-incongruence-and-transgender-
24   health-in-the-icd.


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 1   Dkt. No. 253 at 10, there would have been no reason to use the term “gender-affirming care”

 2   instead of “Listed Services” in paragraph 2 of the preliminary injunction. Dkt. No. 233 at 53; see

 3   also League of California Cities v. Fed. Commc’ns Comm’n, 118 F.4th 995, 1021 (9th Cir. 2024)

 4   (the “meaningful-variation canon” provides “that ‘[w]here a document has used one term in one

 5   place, and a materially different term in another, the presumption is that the different term denotes

 6   a different idea’” (quoting Sw. Airlines Co. v. Saxon, 596 U.S. 450, 457–58 (2022)). If that weren’t

 7   enough, the Court also squarely rejected Defendants’ contention that the Gender Ideology EO’s

 8   use of the term “gender affirming care” defined the “Listed Services.” Dkt. No. 233 at 37 (“That

 9   the Executive Order mentions that what it defines as ‘chemical and surgical mutilation’ is

10   ‘sometimes referred to as “gender affirming care”’ does not change its definitional sweep[.]”).

11          In sum, it was manifestly unreasonable for Defendants to “understand this Court’s

12   enjoinment of Section[s] 3[(e) and (g)] of the [Gender Ideology] EO . . . to exclude . . . care other

13   than the Listed Services.” Dkt. No. 253 at 12.

14          Defendants also adopt an unreasonably narrow and self-serving view of what constitutes

15   “care,” arguing that research studies categorically cannot include the provision of care. Dkt. No.

16   253 at 2, 8–10. Such an interpretation appears to be deliberately ignorant: it is common knowledge

17   that research studies frequently involve patient care. Indeed, the NIH Grants Policy Statement

18   includes an entire chapter dedicated to costs related to “research patient care.” NIH Grants Policy

19   Statement,   Chapter    19:   Research    Patient   Care   Costs    (April   2024),   available   at

20   https://grants.nih.gov/grants/policy/nihgps/HTML5/section_19/19_research_patient_care_costs.h

21   tm. NIH states that “[r]esearch patients may receive routine services as inpatients or ancillary

22   services as either inpatient or outpatient subjects/volunteers/donors”; “routine services” include

23   “[r]egular room services, minor medical and surgical supplies, and the use of equipment and

24   facilities”; “ancillary services” include “special services for which charges are customarily made

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 1   in addition to routine services, e.g., x-ray, operating room, laboratory, pharmacy, blood bank, and

 2   pathology”; and “outpatient services” include “[s]ervices rendered to subjects/volunteers/donors

 3   who are not hospitalized.” Id. §§ 19.2–.3. Research subjects may also receive “usual patient care”

 4   during the study: i.e., “[i]tems and services (routine and ancillary) ordinarily furnished in the

 5   treatment of patients by providers of patient care under the supervision of the physician or other

 6   responsible health professional,” including “diagnostic, therapeutic, rehabilitative, medical,

 7   psychiatric, or any other related professional health services.” Id. § 19.2. That a given medical

 8   intervention might ultimately not turn out to be “efficacious” for certain patients (or all patients)

 9   does not mean that the intervention is not “care.” Dkt. No. 253 at 9. The Court accordingly rejects

10   Defendants’ frivolous argument that research studies cannot involve the provision of care. See also

11   Dina Berlyn, Routine Patient Care in Clinical Trials: Whose Cost Is It Anyway?, 16 J.L. & Health

12   77 (2002); Piggott v. Kampgrounds of Am., Inc., No. CV-09-2691, 2010 WL 11679195, at *10

13   (S.D. Tex. July 19, 2010) (guidelines issued by the National Cancer Institute distinguish between

14   “two types of costs associated with a clinical trial: patient care costs and research costs”), report

15   and recommendation adopted, 2010 WL 11679199 (S.D. Tex. Sept. 23, 2010).

16          Defendants’ unreasonable and self-serving interpretation of the Court’s orders is certainly

17   deserving of the above reprimands, as well as a warning that the Court may impose sanctions for

18   any future violations of Rule 11, other Federal Rules, the Local Civil Rules, or its orders. The

19   Court further orders counsel for Defendants to correct their unreasonable interpretation of the

20   Court’s orders, as described below. However, as explained in the following section, Plaintiffs have

21   not shown by clear and convincing evidence that the Grant cancellation at issue here rises to the

22   level of contempt.

23

24

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 1   B.     Plaintiffs Have Not Met Their Burden to Show Contempt

 2          “Civil contempt . . . consists of a party’s disobedience to a specific and definite court order

 3   by failure to take all reasonable steps within the party’s power to comply.” In re Dual–Deck Video

 4   Cassette Recorder Antitrust Litig., 10 F.3d 693, 695 (9th Cir. 1993). “The party alleging civil

 5   contempt must demonstrate that the alleged contemnor violated the court’s order by ‘clear and

 6   convincing evidence,’ not merely a preponderance of the evidence.” Id. “The contempt need not

 7   be willful, and there is no good faith exception to the requirement of obedience to a court order”;

 8   however, “a person should not be held in contempt if his action appears to be based on a good faith

 9   and reasonable interpretation of the court’s order.” Id. (cleaned up). “Substantial compliance with

10   the court’s injunction is a defense to civil contempt.” Nat’l Advert. Co. v. City of Orange, 861 F.2d

11   246, 250 (9th Cir. 1988).

12          Again, on February 28, 2025, while this Court’s TRO was in place, NIH terminated the

13   Grant, explaining that it “no longer effectuates agency priorities.” Dkt. No. 244-1 at 2. The record

14   before the Court does not indicate that the Grant was terminated based on the fact that Seattle

15   Children’s provides the Listed Services. In fact, NIH continued to otherwise provide grant funding

16   to Seattle Children’s, including a $415,863 continuation award issued on March 5, 2025. See NIH,

17   RePORTER       Search    Results    for   Active   Projects    at   Seattle   Children’s    Hospital,

18   https://reporter.nih.gov/search/lFzuWhiOWUie121QPESo-

19   g/projects?org=SEATTLE%20CHILDREN%27S%20HOSPITAL&agencies=NIH&projects=Ac

20   tive (listing currently active projects); NIH, RePORTER Information on Project Number

21   5R01MH108519-11,            https://reporter.nih.gov/search/QKTSKN7vhUaAaj-bfO_SNg/project-

22   details/11077352. Plaintiffs have not established by clear and convincing evidence that NIH’s

23   February 28, 2025 action violated the Court’s TRO.

24

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 1           However, a broader injunction went into effect as of the evening of February 28, 2025,

 2   preventing Defendants from enforcing Sections 3(e) and (g) of the Gender Ideology EO by

 3   “condition[ing] or withhold[ing] federal funding based on the fact that a health care entity or health

 4   professional provides gender-affirming care[.]” Dkt. No. 233 at 53. NIH’s March 4, 2025 notice

 5   confirmed the Grant’s termination, explaining that

 6           [t]his award related to Transgender issues no longer effectuates agency priorities.
             It is the policy of NIH not to further prioritize these research programs. Therefore,
 7           the award is terminated.

 8   Dkt. No. 244-2 at 6. Echoing the February 28 letter, the March 4 notice added that “[r]esearch

 9   programs based on gender identity are often unscientific, have little identifiable return on

10   investment, and do nothing to enhance the health of many Americans. Many such studies ignore,

11   rather than seriously examine, biological realities. It is the policy of NIH not to prioritize these

12   research programs.” Id. Notably, the March 4 letter not only confirmed termination of the Grant,

13   but also stated that NIH “hereby revises this award to reflect a decrease in the amount of

14   $200,453,” id. at 2–3, although “[f]unds in the amount of [$40,091] may be used to support patient

15   safety and orderly closeout of the project,” id. at 7. Because the grant had a funds balance of

16   $78,300.91, the March 4 notice appeared to withhold more funds than those remaining on the

17   Grant, thereby effecting more than a simple termination of the Grant. Dkt. No. 244 at 3–4.

18           Again, Sections 3(e) and (g) of the Gender Ideology EO require agencies to “end the

19   Federal funding of gender ideology” and “ensure grant funds do not promote gender ideology,”

20   respectively. Dkt. No. 17-2 at 3. The EO explains that “gender ideology” “replaces the biological

21   category of sex with an ever-shifting concept of self-assessed gender identity”; “[g]ender identity,”

22   in turn, “reflects a . . . subjective sense of self, disconnected from biological reality and sex[.]” Id.

23   at 2–3. The March 4 NIH notice uses strikingly similar language to that in the January 20 Gender

24   Ideology EO. For example, the notice explains that the Grant—which is “related to Transgender

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 1   issues”—“no longer effectuates agency priorities” because “[m]any” studies “based on gender

 2   identity are often unscientific” and “ignore, rather than seriously examine, biological realities.”

 3   Dkt. No. 244-2 at 6. Furthermore, Defendants do not contest that the March 4 notice “de-obligated

 4   $200,453 for the grant at issue here,” Dkt. No. 253 at 8, nor do they dispute Plaintiffs’ evidence

 5   that “this means Seattle Children’s could be asked to pay back money for expenses that were

 6   already incurred for study costs and salaries,” Dkt. No. 244 at 4. And although Defendants now

 7   deny that this Grant involved patient care, NIH provided over $40,000 to support “patient safety”

 8   and orderly closeout of the project. Dkt. No. 244-2 at 7. In other words, while NIH was enjoined

 9   from enforcing the Gender Ideology EO by “condition[ing] or withhold[ing] federal funding based

10   on the fact that a health care entity or health professional provides gender-affirming care,” Dkt.

11   No. 233 at 53, NIH retracted federal funding for a grant with potential “patient safety” needs

12   because the grant involved “Transgender issues” and was “based on gender identity,” Dkt. No.

13   244-2 at 6–7.

14           The February 28 letter 3 and March 4 notice also conform substantially to an NIH decision

15   chart received by Plaintiff Physician 1 that Physician 1 understands to be “a tool NIH may be using

16   to determine whether it will continue to fund grants in light of the Gender Ideology Order[.]” Dkt.

17   No. 245 at 2. The decision chart indicates that any grant with “Sex” or “Gender” in the “title,

18   abstract, or specific aims of [the] grant” will be reviewed by a program officer “to determine

19   whether a negotiation is needed to revise title, aims, and/or budget[.]” Dkt. No. 245-6 at 2. If such

20   a revision is possible, the program officer will “negotiate[] with [the] awardee” “to bring the work

21   into alignment with EO 14168 [(the Gender Ideology EO)] and HHS guidance.” Id. If this is not

22   possible, and the funds are “used for gender-affirming care” or “[g]ender identity development,”

23
     3
       Although the February 28 letter did not violate the Court’s TRO or preliminary injunction, its rationale informs
24   NIH’s later action in its March 4 notice.


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 1   the program officer should “[c]onsider suspension or withholding future funding.” Id. Consistent

 2   with the directives in the chart, the February 28 letter terminated the Grant because it is a

 3   “[r]esearch program[] based on gender identity” and “no modification of the project could align

 4   the project with agency priorities.” Dkt. No. 244-1 at 2. Presumably on the same bases, the March

 5   4 notice confirmed the termination and purported to claw back more grant funding than a

 6   termination of only prospective funding would appear to permit.

 7            This evidence raises the possibility that the March 4 revocation of grant funding was

 8   effected pursuant to Sections 3(e) or (g) of the Gender Ideology EO for an enjoined purpose. But

 9   a mere possibility that an action violates a court order is not enough to establish contempt;

10   Plaintiffs must instead provide clear and convincing evidence. Here, they have not done so. The

11   record leaves unclear (1) whether NIH actually did revoke Grant funding on March 4 pursuant to

12   the Gender Ideology EO; and (2) if so, whether the Grant involved “gender-affirming care.”

13   Plaintiffs’ motion for contempt is therefore denied. 4 However, Plaintiffs have established good

14   cause for expedited discovery, as explained below.

15
     4
       On March 5, 2025, the Centers for Medicare and Medicaid Services (“CMS”) sent a “Quality and Safety Special
16   Alert Memo” (“QSSAM”) to “[h]ospital [p]roviders and other [c]overed [e]ntities” stating that “CMS is alerting
     providers to the dangerous chemical and surgical mutilation of children, including interventions that cause
17   sterilization.” CMS QSSAM, https://www.cms.gov/files/document/qssam-25-02-hospitals.pdf (March 5, 2025). On
     March 6, 2025, the Health Resources and Services Administration (“HRSA”) and the Substance Abuse and Mental
     Health Services Administration (“SAMHSA”)—also within HHS—distributed letters to hospitals and grant recipients
18   informing them that each respective agency “will review its policies, grants, and programs in light of the concerns
     discussed in the QSSAM and may begin taking steps in the future to appropriately update its policies to protect children
19   from chemical and surgical mutilation.” Dkt. No. 245-8 at 2 (HRSA letter); Dkt. No. 245-9 at 2 (SAMHSA letter).
     The HRSA letter also noted that it “will examine the $367.2 million that was awarded in fiscal year 2024 to 59 free-
     standing children’s hospitals nationwide in light of the concerns” relating to the “dangerous chemical and surgical
20   mutilation of children.” Dkt. No. 245-8 at 2.

21            In the “background” section of Plaintiffs’ motion, they state that the HRSA and SAMHSA letters were
     submitted to “at least two hospitals in the Plaintiff States” in “flagrant violation of this Court’s order.” Dkt. No. 243
     at 5. But Plaintiffs do not advance this argument in the “argument” section of their motion. Id. at 6–14. Nor do they
22   include proposed findings regarding these letters in their proposed order, instead dedicating their proposed findings
     solely to the Grant termination. See generally Dkt. No. 243-1. Where a movant seeks a “severe remedy” such as
23   contempt, Taggart v. Lorenzen, 587 U.S. 554, 561 (2019), it must at least provide adequate notice to the opposing
     party before contempt can properly be entered against it. Cf. Portland Retail Druggists Ass’n v. Kaiser Foundation
     Health Plan, 662 F.2d 641, 645 (9th Cir. 1981); Rodman v. Safeway Inc., No. 11-CV-03003-JST, 2015 WL 660214,
24

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 1   C.       Plaintiffs Have Established that Expedited Discovery is Warranted

 2            A party “may not seek discovery from any source before the parties have conferred as

 3   required by Rule 26(f), except . . . when authorized by [the Federal Rules of Civil Procedure], by

 4   stipulation, or by court order.” Fed. R. Civ. P. 26(d)(1). To deviate from the standard pretrial

 5   schedule, including by seeking expedited discovery before a Rule 26(f) conference, the moving

 6   party must demonstrate good cause. See Fed. R. Civ. P. 16(b)(4) (“A schedule may be modified

 7   only for good cause and with the judge’s consent.”); see also, e.g., MACOM Tech. Sols. Holdings,

 8   Inc. v. Infineon Techs. AG, No. 216CV02859CASPLAX, 2017 WL 1371247, at *5 (C.D. Cal. Mar.

 9   17, 2017) (finding good cause for expedited discovery when defendants’ communications created

10   substantial questions about whether they were complying with the court’s preliminary injunction).

11   “Good cause may be found where the need for expedited discovery, in consideration of the

12   administration of justice, outweighs the prejudice to the responding party.” Amazon.com, Inc. v.

13   Autospeedstore, No. C22-1183 MJP, 2023 WL 1869300, at *1 (W.D. Wash. Jan. 11, 2023)

14   (quoting Semitool, Inc. v. Tokyo Electron Am., Inc., 208 F.R.D. 273, 276 (N.D. Cal. 2002)). Courts

15   commonly consider the following non-exclusive factors in determining the reasonableness of

16   expedited discovery: (1) whether a preliminary injunction is pending; (2) the breadth of the

17   discovery requests; (3) the purpose for requesting the expedited discovery; (4) the burden on the

18

19   at *1 (N.D. Cal. Feb. 12, 2015) (“As the party moving for summary judgment, Plaintiff was required to frame the
     relief sought by his motion clearly, in order to provide adequate notice to the opposing party and to the Court.”).
     Because Plaintiffs’ “ambiguous motion denied [Defendants] adequate notice,” Wichansky v. Zoel Holding Co., Inc.,
20   702 F. App'x 559, 561 (9th Cir. 2017), the Court does not entertain Plaintiffs’ request relating to the HRSA and
     SAMHSA letters. See Wagafe v. Biden, No. 2:17-CV-00094-LK, 2025 WL 241744, at *9 (W.D. Wash. Jan. 17, 2025).
21             The Court also notes that, contrary to Plaintiffs’ representations, these letters do not “explicitly threaten”
     institutions with loss of funding “if they do not abide by the Orders this Court has enjoined.” Dkt. No. 254 at 7.
22   However, Defendants are certainly on notice that they may not “enforc[e] or implement[] Section 4 of Executive Order
     14,187 within the Plaintiff States” or “enforc[e] Sections 3(e) or 3(g) of Executive Order 14,168 to condition or
     withhold federal funding based on the fact that a health care entity or health professional provides gender-affirming
23   care within the Plaintiff States.” Dkt. No. 233 at 53. And taking action in “violation of the spirit of the injunction,
     even though its strict letter may not have been disregarded,” can suffice to meet the standard for civil contempt. Inst.
24   of Cetacean Rsch. v. Sea Shepherd Conservation Soc’y, 774 F.3d 935, 949 (9th Cir. 2014).


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 1   defendants to comply with the requests; and (5) how far in advance of the typical discovery process

 2   the request was made. Id.

 3            Here, the discovery Plaintiffs seek prior to the Rule 26(f) conference is limited to the

 4   circumstances surrounding the Grant termination. Dkt. No. 243 at 12. 5 Defendants do not identify

 5   any prejudice they would suffer from this expedited discovery, see generally Dkt. No. 253; and

 6   indeed, the Court expects the typical discovery process to begin soon, see Dkt. No. 241 (ordering

 7   the parties to submit a joint status report proposing next steps in the case). And as explained above,

 8   NIH’s communications have raised substantial questions regarding whether the March 4, 2025

 9   federal funding revocation occurred as part of enforcement of the Gender Ideology EO in

10   contravention of the Court’s preliminary injunction.

11            Accordingly, Plaintiffs’ request for expedited discovery is granted as to the narrow issue

12   of whether the March 4 funding revocation was carried out on the basis of the enjoined provisions

13   in the Gender Ideology EO “based on the fact that” either Seattle Children’s Hospital or the study

14   at issue “provides gender-affirming care[.]” Dkt. No. 233 at 53.

15                                              III. CONCLUSION

16            For these reasons, the Court DENIES Plaintiffs’ Motion for Contempt and GRANTS their

17   alternative request for expedited discovery. Dkt. No. 243. Because the Court declines to hold

18   Defendants in contempt, it denies as moot Plaintiffs’ request for fees.

19            The Court ORDERS counsel for Defendants to correct their unreasonable interpretation of

20   the Court’s preliminary injunction by notifying all Defendants and agencies and their employees,

21   contractors, and grantees of the following by no later than March 20, 2025:

22
     5
       In their reply brief, Plaintiffs expand this request to encompass “discovery about what steps Defendants are taking
23   to terminate grants that fund research and health care for transgender people, and why they are taking those steps.”
     Dkt. No. 254 at 8. It is procedurally improper to introduce new arguments in a reply brief, and the Court declines to
24   entertain Plaintiffs’ expanded request. Thompson v. Comm’r, 631 F.2d 642, 649 (9th Cir. 1980).


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 1         1. This Court’s February 28, 2025 preliminary injunction enjoined all Defendants (except

 2              President Trump) and all their respective officers, agents, servants, employees, and

 3              attorneys, and any person in active concert or participation with them who received

 4              actual notice of the order “from enforcing Sections 3(e) or 3(g) of Executive Order

 5              14,168 to condition or withhold federal funding based on the fact that a health care

 6              entity or health professional provides gender-affirming care within the Plaintiff States”

 7              of Washington, Oregon, Minnesota, and Colorado. Dkt. No. 233 at 53.

 8         2. Defendants unreasonably interpreted “gender-affirming care” in paragraph 2 of the

 9              preliminary injunction to include only the four medical treatments listed in Executive

10              Order 14,187, i.e., (1) “the use of puberty blockers, including GnRH agonists and other

11              interventions, to delay the onset or progression of normally timed puberty in an

12              individual who does not identify as his or her sex”; (2) “the use of sex hormones, such

13              as androgen blockers, estrogen, progesterone, or testosterone, to align an individual’s

14              physical appearance with an identity that differs from his or her sex”; (3) “surgical

15              procedures that attempt to transform an individual’s physical appearance to align with

16              an identity that differs from his or her sex”; and (4) “surgical procedures . . . that attempt

17              to alter or remove an individual’s sexual organs to minimize or destroy their natural

18              biological functions.” Executive Order 14,187 § 2(c); see also Dkt. No. 253 at 10–11.

19         3.   Contrary to Defendants’ unreasonable interpretation, “gender-affirming care” as used

20              in paragraph 2 of the Court’s preliminary injunction includes all gender-affirming

21              services for individuals with gender dysphoria. Dkt. No. 233 at 30. In other words,

22              consistent with the HHS Office of Population Affairs’ definition of the term—i.e., “an

23              array of services that may include medical, surgical, mental health, and non-medical

24              services for transgender and nonbinary people,” HHS Office of Population Affairs,

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 1            Gender-Affirming               Care            and             Young              People,

 2            https://web.archive.org/web/20250227041634/https://opa.hhs.gov/sites/default/files/2

 3            025-02/gender-affirming-care-young-people.pdf—“gender-affirming care” as set forth

 4            in paragraph 2 of the preliminary injunction includes, but is not limited to, therapy;

 5            mental health care; assistance with elements of a social transition (e.g., new name and

 6            pronouns, modification of clothing, voice training); evaluation of persistency of gender

 7            dysphoria, emotional and cognitive maturity, and coexisting psychological, medical, or

 8            social problems; puberty-suppressing medications; hormone therapy; and surgery. Dkt.

 9            No. 233 at 27–28, 51 & n.27.

10         4. Defendants also unreasonably interpreted “care” to exclude patient care provided

11            during research studies. Dkt. No. 253 at 2, 8–10. By way of clarification and not

12            limitation, “gender-affirming care” as used in paragraph 2 of the Court’s preliminary

13            injunction includes patient care provided as part of research or education grants,

14            including but not limited to routine services, ancillary services, outpatient services,

15            inpatient services, and usual patient care received during the study. See NIH Grants

16            Policy      Statement,      Chapter      19      (April     2024),        available    at

17            https://grants.nih.gov/grants/policy/nihgps/HTML5/section_19/19_research_patient_c

18            are_costs.htm.

19         Defendants shall file a copy of the notice on the docket at the same time.

20

21         Dated this 17th day of March, 2025.

22
                                                        A
23                                                      Lauren King
                                                        United States District Judge
24

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